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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                NORTHERN DIVISION

DARRELL GREEN                                                                  PLAINTIFF

VS.                                              CIVIL ACTION NO.: 3:23-cv-580-CWR-ASH

STATE FARM FIRE AND CASUALTY
COMPANY, INC.,                                                                DEFENDANT

                     STATE FARM FIRE AND CASUALTY COMPANY’S
                         MOTION FOR SUMMARY JUDGMENT

        Defendant State Farm Fire and Casualty Company (“State Farm”), improperly denoted as

“State Farm Fire and Casualty Company, Inc.,” files this Motion for Summary Judgment

pursuant to Rule 56(c) of the Federal Rules of Civil Procedure on all claims asserted in the

Complaint. In support of this Motion, State Farm would show the following:

   1.        For the reasons set forth in State Farm’s supporting Memorandum being filed

contemporaneously herewith, summary judgment is proper because there are no genuine issues

of material fact and State Farm is entitled to judgment as a matter of law.

   2.        In further support of this Motion, State Farm incorporates its supporting

Memorandum and also the following exhibits:

        Exhibit A:     State Farm Payment Settlement

        Exhibit B:     Letter From Plaintiff’s Former Counsel

        Exhibit C:     State Farm’s Clarifying Letter

        WHEREFORE, State Farm respectfully requests that this Court grant its Motion for

Summary Judgment and enter an order dismissing all claims asserted in the Complaint with

prejudice.

        This the 2nd day of July, 2024.
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                               STATE FARM FIRE AND CASUALTY
                               COMPANY, Defendant

                                /s/ Amanda B. Barbour
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                                 CERTIFICATE OF SERVICE

        I, Amanda B. Barbour, one of the attorneys for State Farm Fire and Casualty Company,

do hereby certify that I have this day caused a true and correct copy of the foregoing instrument

to be delivered to counsel of record via the Court’s CM/ECF System.

        So certified this the 2nd day of July, 2024.


                                                       /s/ Amanda B. Barbour
                                                       Amanda B. Barbour




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